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United States Bankruptcy Court for the:

[28/23

Southern District of Florida

Case number (if known):

Official Form 201

Chapter you are filing under:
Chapter 7

Chapter 11

LI Chapter 12

Cl Chapter 13

Page 1 of 44

UL) Check if this is an

amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

Debtor’s name

=

2. All other names debtor used

in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor’s federal Employer
Identification Number (EIN)

4. Debtor’s address

5. Debtor’s website (URL)

6. Type of debtor

Official Form 201

Aspen Sober Living, LLC

 

 

 

 

 

 

XX-XXXXXXX

 

Principal place of business

Mailing address, if different from principal place
of business

 

 

 

 

 

 

1111 Loxahatchee Dr. 900 Osceola Dr.
Number Street Number Street
Suite A Suite 108
P.O. Box
West Palm Beach FL 933409 West Palm Beach FL 33409
City State ZIP Code City State ZIP Code

Palm Beach County

 

County

none

Location of principal assets, if different from
principal place of business

 

Number Street

 

 

City State ZIP Code

 

[1 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

(1 Partnership (excluding LLP)
J Other. Specify:

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
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Debtor Aspen Sober Living, LLC

Case number (if known)

 

Name

7. Describe debtor’s business

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor’ must check the first sub-

box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must

check the second sub-box.

9. Were prior bankruptcy cases
filed by or against the debtor

within the last 8 years?

If more than 2 cases, attach a
separate list.

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

Official Form 201

A. Check one:

(J Health Care Business (as defined in 11 U.S.C. § 101(27A))

OC Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
J Railroad (as defined in 11 U.S.C. § 101(44))

(J Stockbroker (as defined in 11 U.S.C. § 101(53A))

OC Commodity Broker (as defined in 11 U.S.C. § 101(6))

CQ Clearing Bank (as defined in 11 U.S.C. § 781(3))

[ZZ] None of the above

B. Check all that apply:
O Tax-exempt entity (as described in 26 U.S.C. § 501)

[I Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
See http:/Avww.naics.com/search/ .

6242
Check one:
(J Chapter 7
(2 Chapter 9
[1 Chapter 11. Check all that apply:

[Z]_ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
are less than $3,024,725. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal income
tax retum or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

LZ] The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return, or if
any of these documenis do not exist, follow the procedure in 11 U.S.C.
§ 1116(1)(B).

OA plan is being filed with this petition.

Ol Acceptances of the plan were solicited prepetition from one or more classes of creditors,
in accordance with 11 U.S.C. § 1126(b).

(J The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-individuals Filing
for Bankruptcy under Chapter 17 (Official Form 201A) with this form.

( The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule

 

12b-2.
(1 Chapter 12
No
Cc Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM / DD/YYYY
[No
CYes. Debtor Relationship
District When

 

MM / DD /YYYY
Case number, if known

 

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor Aspen Sober Living, LLC

Case number (if known)

 

Name

11. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

Check ail that apply:

WW Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

LA bankruptcy case concerning debior’s affiliate, general partner, or partnership is pending in this district.

ZINo

(2 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

LJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

LJ) It needs to be physically secured or protected from the weather.

LJ It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

L) Other

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Is the property insured?

L} No

LJ Yes. insurance agency

 

Contact name

 

Phone

 

| | Statistical and administrative information

Check one:

13. Debtor’s estimation of
available funds

14. Estimated number of
creditors

15. Estimated assets

Official Form 201

Funds will be available for distribution to unsecured creditors.
LJ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

1-49 LJ 1,000-5,000 LJ 25,001-50,000

LJ 50-99 LJ 5,001-10,000 LJ 50,001-100,000

LJ 100-199 LJ 10,001-25,000 L) More than 100,000

LL) 200-999

Wd) $0-$50,000 LL) $1,000,001-$10 million LJ $500,000,001-$1 billion

LJ $50,001-$100,000 L) $10,000,001-$50 million L) $1,000,000,001-$10 billion
LJ $100,001-$500,000 LJ $50,000,001-$100 million LJ $10,000,000,001-$50 billion
LJ $500,001-$1 million LJ $100,000,001-$500 million LJ More than $50 billion

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3
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Aspen Sober Living, LLC

 

 

Debtor Case number (if known),
Name
oe O) $0-$50,000 W $1,000,001-$10 million UO) $500,000,001-$1 billion
16. Estimated liabilities OO $50,001-$100,000 OQ) $10,000,001-$50 million 2 $1,000,000,001-$10 billion
CO) $100,001-$500,000 CO $50,000,001-$100 million CO $10,000,000,001-$50 billion
O) $500,001-$1 million OQ) $100,000,001-$500 million O) More than $50 billion

| | Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of a
petition.
debtor

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 03/ 28/ 2023

MM /DD/YYYY

X /s/ Ari Lind Ari Lind

Signature of authorized representative of debtor Printed name

 

Title Authorized Agent

 

18. Signature of attorney X /s/ Stephen Breuer Date 03/28/2023

Signature of attorney for debtor MM /DD /YYYY

 

Stephen Breuer

Printed name

Breuer Law, PLLC

 

 

 

 

 

 

 

Firm name

6501 Congress Avenue Suite 240

Number Street

Boca Raton FL 33487

City State ZIP Code
9546073244 stephen@breuer.law
Contact phone Email address

99709 FL

Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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TMLee Cee ( (tat al Merle

 

Aspen Sober Living, LLC
Debtor name

 

Southern District of Florida
United States Bankruptcy Court for the:,

(State)
Case number (If known):

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

 

[" |check if this is an
amended filing

 

 

 

12/15
an Summary of Assets
1. Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
1a. Real property: 0.00
Copy line 88 from Schedule A/B $_

1b. Total personal property:
Copy line 91A from Schedule A/B

1c. Total of all property:
Copy line 92 from Schedule A/B

ir Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line Ga of Schedule E/F..........cccccccccceceeseceececeeseeeeeeeeeeeceeeeeeeaeeaeseeeeaeseeeneseaeeaeeeeteaeees

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F

4. Totall abilities... eee cccecssecsseessceeseeceneesseecseecsneesseecsuecsueeseeasseesuesseesssuecueeseesssessuseesesuessaeesaescausseaessaesseeessaesssessaneesseesaess
Lines 2 + 3a + 3b

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals

 

 

$ 33,443.45

 

 

 

5 33,443.45

 

 

15,481.70

; 0.00

+s 1,306,270.34

 

 

g_ _1,321,752.04

 

 

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MUM Maciel m om (e-Uih male Cie

 

Debtor name

Aspen Sober Living, LLC

 

United States Bankruptcy Court for the: Southern District of Florida

 

Case number (If known):

 

Official Form 204

Filed 03/28/23 Page 6 of 44

[check if this is an
amended filing

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders

12/15

 

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20

largest unsecured claims.

Name of creditor and complete
mailing address, including zip code

Aspen Healthcare Group, LLC
Justin Claud, Esq., RA

2000 PGA Blvd., Ste. 4440
North Palm Beach, FL, 33408

902 Evergreen, LLC

525 10th St.

#503

West Palm Beach, FL, 33403

Aspen Behavioral Health, LLC
c/o Justin Claud, Esq.

2000 PGA Bivd., Ste. 4440
North Palm Beach, FL, 33408

Florida Healthcare Law Firm
151 NW 1st Ave.

Attn. Randy Goldberg, Esq.
Delray Beach, FL, 33444

Comcast
1701 JFK Blvd
Philadelphia, PA, 19103

Intuit Quickbooks
2632 Marine Way
Mountain View, CA, 94043

ADP
701 Northpoint Parkway
West Palm Beach, FL, 33407

Florida Power and Light
General Mail Facility
Miami, FL, 33188

Official Form 204

Name, telephone number, Nature of the claim Indicate if
and email address of
creditor contact debts, bank loans,
professional
services, and
government
contracts)
Justin Claud, Esq.
561-203-8151
justin@claudlaw.com
Geoffrey lttleman, Esq.
geoffrey@ittlemanlaw.com
Justin Claud, Esq.
561-203-8151
justin@claudlaw.com
Randy Goldberg Services

(for example, trade

Amount of unsecured claim

If the claim is fully unsecured, fill in only unsecured
claim amount. If claim is partially secured, fill in
total claim amount and deduction for value of
collateral or setoff to calculate unsecured claim.

Total claim, if Deduction for Unsecured
partially value of claim
secured collateral or

setoff

1,143,270.34

82,125.00

79,060.00

1,815.00

0.00

0.00

0.00

0.00

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 1
10

11

12

13

14

15

16

17

18

19

20

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Aspen Sober Living, LLC

 

 

Debtor Case number (i known)
Name
Name of creditor and complete Name, telephone number, Nature of the claim Indicate if Amount of unsecured claim
mailing address, including zip code and email address of (for example, trade claimis If the claim is fully unsecured, fill in only unsecured
creditor contact debts, bank loans, contingent, claim amount. If claim is partially secured, fill in
professional unliquidated, {otal claim amount and deduction for value of
services, and ordisputed collateral or setoff to calculate unsecured claim.
government
contracts)
Total claim, if Deduction for Unsecured
partially value of claim
secured collateral or
setoff

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims page 2
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UMUC Cue lam ome (SUh mt sii

 

Debtor name Aspen Sober Living, LLC

United States Bankruptcy Court for the Southern District of Florida __

Case number (If known): L) Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

En Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

LL] No. Go to Part 2.
WW Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor’s
interest
2. Cash on hand g 0.00

3. Checking, savings, money market, or financial brokerage accounts (/deniify all)

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1, JP Morgan Chase Bank, NA Checking 0 6 3 6 $ 2.08
3.2. See continuation sheet 3 141.37

 

4. Other cash equivalents (identify ail)
41.

 

4.2.

 

 

5. Total of Part 1 g 143.45
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

Ea Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

LL) No. Go to Part 3.

Wd Yes. Fill in the information below.

Current value of
debtor’s interest

7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit
7A, $
7.2. $

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 9 of 44

Debtor Aspen Sober Living, LLC

Name

Case number (if known),

 

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of holder of prepayment
8.1, February 2024 advance rent - Fifty-Five, LLC (landlord) ¢ 14,000.00

 

8.2. $

 

9. Total of Part 2.

3 14,000.00
Add lines 7 through 8. Copy the total to line 81.

 

 

 

Gar Accounts receivable

10. Does the debtor have any accounts receivable?
WW] No. Go to Part 4.
L) Yes. Fill in the information below.

Current value of debtor's
interest

11. Accounts receivable
11a. 90 days old or less: - = heen > $

face amount doubtful or uncollectible accounts

11b. Over 90 days old: - eee > $
face amount doubtful or uncollectible accounts

 

12. Total of Part 3
Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 

 

 

ars Investments

13. Does the debtor own any investments?
Wd) No. Go to Part 5.

L) Yes. Fill in the information below.
Valuation method Current value of debtor’s
used for current value interest

14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.1. $
14.2.

 

 

15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture
Name of entity: % of ownership:

15.1. % $
15.2. % GS

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
instruments not included in Part 1

Describe:

16.1. $
16.2, $

 

 

17. Total of Part 4
Add lines 14 through 16. Copy the total to line 83.

 

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 2
Debtor Case number (i known),

Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 10 of 44

Aspen Sober Living, LLC

Name

Ea Inventory, excluding agriculture assets

18.

19.

20.

21.

22

23.

24.

25.

26.

Does the debtor own any inventory (excluding agriculture assets)?
LL] No. Go to Part 6.
WW) Yes. Fill in the information below.

General description Date of the last Net book value of Valuation method used
physical inventory debtor's interest for current value

(Where available)

Raw materials

 

MM /DD/YYYY $

 

Work in progress

 

 

MM /DD/YYYY $

 

 

 

 

Finished goods, including goods held for resale
MM /DD/YYYY $
. Other inventory or supplies 0.00
Spare sheets, linens and blankets $ .
MM /DD/YYYY
Total of Part 5
Add lines 19 through 22. Copy the total to line 84.
Is any of the property listed in Part 5 perishable?
Wd No
L] Yes
Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
WI No
L] Yes. Book value Valuation method Current value
Has any of the property listed in Part 5 been appraised by a professional within the last year?

i No
UL) Yes

ao Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

28.

29.

30.

31.

32.

Current value of
debtor’s interest

300.00

 

 

300.00

 

 

Wd No. Go to Part 7.

L) Yes. Fill in the information below.

General description Net book value of = Valuation method used
debtor's interest for current value

(Where available)

Current value of debtor’s
interest

 

 

 

 

 

 

Crops—either planted or harvested

$
Farm animals Examples: Livestock, poultry, farm-raised fish

$
Farm machinery and equipment (Other than titled motor vehicles)

$
Farm and fishing supplies, chemicals, and feed

$

 

 

Other farming and fishing-related property not already listed in Part 6
$

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property

page 3

 
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Debtor Aspen Sober Living, LLC

Name

Case number (if known),

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

33. Total of Part 6. $
Add lines 28 through 32. Copy the total to line 85.
34. Is the debtor a member of an agricultural cooperative?
LI No
LI) Yes. Is any of the debtor's property stored at the cooperative?
LJ No
L) Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
LI} No
LJ Yes. Book value $ Valuation method Current value §.
36. Is a depreciation schedule available for any of the property listed in Part 6?
LI No
L) Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
LI} No
L) Yes
Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
W) No. Go to Part 8.
LJ Yes. Fill in the information below.
General description Net book value of Valuation method Current value of debtor’s
debtor's interest used for current value interest
(Where available)
39. Office furniture
$ $
40. Office fixtures
$ $
41. Office equipment, including all computer equipment and
communication systems equipment and software
$ $
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles
42.1 $ $
42.2 $ $
42.3 $ :$
43. Total of Part 7.
Add lines 39 through 42. Copy the total to line 86. $
44. Is a depreciation schedule available for any of the property listed in Part 7?
LJ No
L) Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
LJ No
L) Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 4
Debtor

Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 12 of 44

Aspen Sober Living, LLC

 

Name

Machinery, equipment, and vehicles

46.

47.

48.

49.

50.

51.

52.

53.

Official Form 206A/B

Case number (if known),

 

Does the debtor own or lease any machinery, equipment, or vehicles?

LI No. Go to Part 9.

W) Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

General description Net book value of Valuation method used Current value of
debtor's interest for current value debtor’s interest

Include year, make, model, and identification numbers (i.e., VIN, hn ilabl
HIN, or N-number) ee)

Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1 2018 Chevrolet Express Van $ 0.00 5 19,000.00
47.2 $ $
47.3 $ $
47.4, $ $
Watercraft, trailers, motors, and related accessories Examples: Boats,

trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 $. $
48.2 $ $

Aircraft and accessories
49.1 $ $
49.2 $ $

Other machinery, fixtures, and equipment

(excluding farm machinery and equipment)

$ $

Total of Part 8. $ 19,000.00
Add lines 47 through 50. Copy the total to line 87.

Is a depreciation schedule available for any of the property listed in Part 8?
No
L) Yes

 

 

 

Has any of the property listed in Part 8 been appraised by a professional within the last year?

No
L) Yes

Schedule A/B: Assets — Real and Personal Property page 5
Aspen Sober LVRATE 23-12383-MAM Doc1_ Filed 03/28/23 Page 13 of 44

Debtor Case number (i known),

Name

rs Real property

54.

55.

55.1

55.2

Does the debtor own or lease any real property?
LI No. Go to Part 10.

WW Yes. Fill in the information below.

Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

Description and location of property Nature and extent Net book value of Valuation method used
Include street address or other description such as of debtor’s interest debtor's interest for current value
Assessor Parcel Number (APN), and type of properly in property (Where available)

(for example, acreage, factory, warehouse, apartment
or office building), if available.

1111 Loxahatchee Dr. Suite A, West Palm leasehold

Current value of
debtor’s interest

 

 

 

 

55.3

56.

57.

58.

 

 

Beach, FL 33409 0.00 0.00
$ $
$ $
$ $
Total of Part 9. $ 0.00

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

Is a depreciation schedule available for any of the property listed in Part 9?

W4 No

L) Yes

Has any of the property listed in Part 9 been appraised by a professional within the last year?
\4 No

L) Yes

Ea Intangibles and intellectual property

59.

Does the debtor have any interests in intangibles or intellectual property?
W) No. Go to Part 11.
LJ Yes. Fill in the information below.

General description Net book value of Valuation method
debtor's interest used for current value

(Where available)

 

 

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

60. Patents, copyrights, trademarks, and trade secrets

$ $
61. Internet domain names and websites

$ $
62. Licenses, franchises, and royalties

$ $
63. Customer lists, mailing lists, or other compilations

$ $
64. Other intangibles, or intellectual property

$ $
65. Goodwill

§ $
66. Total of Part 10. 5

Add lines 60 through 65. Copy the total to line 89.

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 6

 

 
Debtor Aspen Sober Living, LLC

67.

68.

69.

Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 14 of 44

Case number (if known),

 

Name

Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
L) No

L) Yes

Is there an amortization or other similar schedule available for any of the property listed in Part 10?

LI No

L) Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?

L) No

L) Yes

an All other assets

70.

71.

72.

73.

74,

75.

76.

‘7.

78.

79.

Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.
WW) No. Go to Part 12.

L] Yes. Fill in the information below.
Current value of
debtor’s interest
Notes receivable
Description (include name of obligor)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ =»
$
Total face amount doubtful or uncollectible amount
Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Tax year $
Tax year $
Tax year $
Interests in insurance policies or annuities
$
Causes of action against third parties (whether or not a lawsuit
has been filed)
$
Nature of claim
Amount requested $
Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
$
Nature of claim
Amount requested $
Trusts, equitable or future interests in property
$
Other property of any kind not already listed Examples: Season tickets,
country club membership
Total of Part 11.
Add lines 71 through 77. Copy the total to line 90. 8

 

 

 

Has any of the property listed in Part 11 been appraised by a professional within the last year?

L) No
L] Yes

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 7
Case 23-12383-MAM Doc 1

Aspen Sober Living, LLC

Debtor

 

Name

In Part 12 copy all of the totals from the earlier parts of the form.

80.

81.

82.

83.

84.

85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206A/B

Type of property

Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

Deposits and prepayments. Copy line 9, Part 2.

Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.
Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9. . .......cccccssceseeeeseeeeeeneeeneteeeeeeneeenaes

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 17.

Total. Add lines 80 through 90 for each column. ............:::eeeee 91a.

. 33,443.45
Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............

Current value of
personal property

sesteteetesaeesneeaeeeeneens >

Filed 03/28/23 Page 15 of 44

Case number (if known),

Current value
of real property

143.45
$

14,000.00
$

0.00
$

0.00
$

300.00
$

0.00
$

0.00
$

19,000.00
$

 

g 0.00

 

 

 

$ 0.00

0.00
3

 

 

 

33,443.45

0.00
$____ | op] §

 

 

 

 

Schedule A/B: Assets — Real and Personal Property

 

 

$

33,443.45

 

page 8

 
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 16 of 44

Aspen Sober Living, LLC
Debtor 1 Case number (ifknown)
First Name Middle Name Last Name

Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

JP Morgan Chase Bank, N. Checking 2137
A.

Balance: 113.38

JP Morgan Chase Bank, N. Checking 1337
A.

Balance: 27.99

Official Form 206 A/B Schedule A/B: Property
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 17 of 44

 

TM Meare Meal ma sR er Ly-e

Debtor name Aspen Sober Living, LLC

 

United States Bankruptcy Court for the: Southern District of Florida

Case number (If known):

 

Official Form 206D

 

L) Check if this is an
amended filing

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page, if any.
Official Form 206D

 

 

 

Schedule D: Creditors Who Have Claims Secured by Property

 

Schedule D: Creditors Who Have Claims Secured by Property 1215
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
Q) No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
@ Yes. Fill in all of the information below.
iin List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one coum lal enamel i 1
secured claim, list the creditor separately for each claim. mount of claim alue of collatera
Do not deduct the value that supports this
Fz Creditor’s name Describe debtor's property that is subject to a lien of collateral. claim
Ally Bank 2018 Chevrolet Express Van
¢ 15,481.70 ¢ 19,000.00
Creditor’s mailing address
PO Box 130424
Roseville, MN 55113-0004
Describe the lien
Creditor’s email address, if known
Is the creditor an insider or related party?
Date debt was incurred la No
Last 4 digits of account Q) Yes
number 4963 Is anyone else liable on this claim?
Do multiple creditors have an interest in the LW No
same property? O) Yes. Fill out Schedule H: Codebiors (Official Form 206H).
Wd No sg are se
C) Yes. Specify each creditor, including this creditor, As of the petition filing date, the claim is:
Check all that apply.
O Contingent
UO) Unliquidated
U Disputed
Ez] Creditor’s name Describe debtor's property that is subject to a lien
$ $
Creditor’s mailing address
Creditor’s email address, if known
Date debt was incurred Describe the lien
Last 4 digits of account
number
Is the creditor an insider or related party?
Do multiple creditors have an interest in the UO No
same property? O Yes
LU No . . Is anyone else liable on this claim?
CL) Yes. Have you already specified the relative O No
priority? . . .
0 No. Speci fy each cre ditor, inclu ding this Q) Yes. Fill out Schedule H: Codebtors (Official Form 206H).
creditor, and its relative priority. As of the petition filing date, the claim is:
Check all that apply.
O Contingent
C) Yes. The relative priority of creditors is QQ Unliquidated
specified on lines QO Disputed
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional ¢ 15,481.70

page 1 of 2
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 18 of 44

Aspen Sober Living, LLC

Name

ee List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

Debtor Case number (it known),

 

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

On which line in Part 1 Last 4 digits of
did you enter the account number
related creditor? for this entity

Name and address

Ally Financial
PO Box 380902

. 4963
Minneapolis, MN, 55438 Line 2. 1

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Line 2.

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 2. of 2_
Case 23-12383-MAM Doc1_ Filed 03/28/23 Page 19 of 44

Mame MUL te elma h at Mer LTB

 

Debtor Aspen Sober Living, LLC

 

United States Bankruptcy Court for the: Southern Disirict of Florida

 

Case number
(If known)

 

LJ Check if this is an
amended filing

 

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims 42/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 

 

aa List All Creditors with PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
W No. Go to Part 2.
L) Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

Total claim Priority amount
EX] Priority creditor's name and mailing address As of the petition filing date, the claim is: 5
Check all that apply.
C) Contingent
Q) Unliquidated
C) Disputed
Basis for the claim:
Date or dates debt was incurred
Last 4 digits of account Is the claim subject to offset?
number U No
- . C) Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )
Pr] Priority creditor's name and mailing address As of the petition filing date, the claim is: 5 5
Check all that apply.
L) Contingent
C) Unliquidated
L) Disputed
Date or dates debt was incurred Basis for the claim:
Last 4 digits of t
number oraccoun Is the claim subject to offset?
U No
Specify Code subsection of PRIORITY unsecured C) Yes
claim: 11 U.S.C. § 507(a) ( )
cx] Priority creditor's name and mailing address As of the petition filing date, the claim is: 5

 

Check all that apply.
L) Contingent
C) Unliquidated
L) Disputed

Basis for the claim:
Date or dates debt was incurred

 

Last 4 digits of account . .
number Is the claim subject to offset?

C) No
Specify Code subsection of PRIORITY unsecured LU Yes
claim: 11 U.S.C. § 507(a) ( )

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 5.
Debtor

Aspen Sober Livi

Gage 23-12383-MAM Doc1 Filed 03/2

Case number (if known)

 

Name

i List All Creditors with NONPRIORITY Unsecured Claims

8/23 Page 20 of 44

 

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority

4]

pe

unsecured claims, fill out and attach the Additional Page of Part 2.

Nonpriority creditor's name and mailing address
902 Evergreen, LLC

525 10th St.
#503
West Palm Beach, FL, 33403

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditors name and mailing address
ADP

701 Northpoint Parkway

West Palm Beach, FL, 33407

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditors name and mailing address
Aspen Behavioral Health, LLC

c/o Justin Claud, Esq.

2000 PGA Bivd., Ste. 4440

North Palm Beach, FL, 33408

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditors name and mailing address
Aspen Healthcare Group, LLC

Justin Claud, Esq., RA

2000 PGA Bivd., Ste. 4440

North Palm Beach, FL, 33408

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address
Comcast

1701 JFK Blvd
Philadelphia, PA, 19103

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address
Florida Healthcare Law Firm

151 NW 1st Ave.
Attn. Randy Goldberg, Esq.
Delray Beach, FL, 33444

Date or dates debt was incurred

1456

Last 4 digits of account number

Official Form 206E/F

12/12/2022

As of the petition filing date, the claim is:
Check all that apply.

U) Contingent

QO) Unliquidated

U Disputed

Basis for the claim:

Is the claim subject to offset?

W No
U Yes

As of the petition filing date, the claim is:
Check all that apply.

U) Contingent

QO) Unliquidated

U Disputed

Basis for the claim:

Is the claim subject to offset?

W No
U Yes

As of the petition filing date, the claim is:
Check all that apply.

L) Contingent

C) Unliquidated

LJ Disputed

Basis for the claim:

Is the claim subject to offset?
ld No
CL) Yes

As of the petition filing date, the claim is:
Check all that apply.

U) Contingent

QO) unliquidated

U Disputed

Basis for the claim:

Is the claim subject to offset?

W No
U Yes

As of the petition filing date, the claim is:
Check all that apply.

() Contingent

QO) unliquidated

U Disputed

Basis for the claim:

Is the claim subject to offset?
W No
UO) Yes

As of the petition filing date, the claim is:
Check all that apply.

U) Contingent

Q) Unliquidated

U Disputed

Basis for the claim: Services

Is the claim subject to offset?

W No
QO ves

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

_ 82,125.00

 

3 Unknown

 

3_ 79,060.00

 

3_1,143,270.34

 

3 Unknown

 

5 1,815.00

 

page 2 of 5_
Debtor

Aspen Sober Livitg@S@ 23-12383-MAM Doc1_ Filed 03/2

 

Name

a Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

Nonpriority creditor's name and mailing address

Florida Power and Light
General Mail Facility
Miami, FL, 33188

Date or dates debt was incurred

Last 4 digits of account number

 

3.2 Nonpriority creditor's name and mailing address

Intuit Quickbooks
2632 Marine Way
Mountain View, CA, 94043

Date or dates debt was incurred

Last 4 digits of account number

b__| Nonpriority creditors name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

b__ | Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

b__ | Nonpriority creditors name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:

Check all that apply.
Q) Contingent
QO) Unliquidated
U Disputed

Basis for the claim:

Is the claim subject to offset?
W No
UO Yes

As of the petition filing date, the claim is:

Check all that apply.
U) Contingent
Q) Unliquidated
U Disputed

Basis for the claim:

Is the claim subject to offset?
“ No
O) Yes

As of the petition filing date, the claim is:

Check all that apply.
U) Contingent
Q) Unliquidated
U Disputed

Basis for the claim:

Is the claim subject to offset?
No
O) Yes

As of the petition filing date, the claim is:

Check all that apply.
() Contingent
QO) unliquidated
U Disputed

Basis for the claim:

Is the claim subject to offset?
LJ No
OU Yes

As of the petition filing date, the claim is:

Check all that apply.
Q) Contingent
QO) unliquidated
U Disputed

Basis for the claim:

|s the claim subject to offset?

No
U Yes

Schedule E/F: Creditors Who Have Unsecured Claims

8/23 Page 21 of 44

Case number (if known)

Amount of claim

g Unknown

 

3 Unknown

 

page 3 of _5_
Debtor

aa List Others to Be Notified About Unsecured Claims

 

Name

Aspen Sober Livre ASC 23-12383-MAM Doc1 Filed 03/28/23 Page 22 of 44

Case number (if known)

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are callection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

4.1.

4.2.

4.3.

4.4,

41.

4.5.

46.

47.

4.8.

4.9.

4.10.

Name and mailing address

902 Evergreen, LLC

c/o Geoffrey lttleman Esq
955 S. Federal Hwy, Ste. 339
Fort Lauderdale, FL, 33301

Geoffrey Ittleman, Esq.
955 S. Federal Hwy

Ste. 339

Fort Lauderdale, FL, 33316

Official Form 206E/F

On which line in Part 1 or Part 2 is the
related creditor (if any) listed?

Line 3.1
LI Not listed. Explain:

Line

WINot listed. Explain
counsel for creditor 902 Evergreen

Line

LJNot listed. Explain

 

Line

CINot listed. Explain

Line

CINot listed. Explain

Line

CINot listed. Explain

Line

LJNot listed. Explain

Line

LJNot listed. Explain

Line

LJNot listed. Explain

Line

CINot listed. Explain

 

Line

CINot listed. Explain

Line

LJNot listed. Explain

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of
account number, if

any

page 4 of a
Aspen Sober Livifg; ASE 23-12383-MAM Doc1_ Filed 03/28/23 Page 23 of 44

Debtor Case number (if known)

Name

a Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

5a. Total claims from Part 1 5a.

5b. Total claims from Part 2 5b.

5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c.

5c.

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims

Total of claim amounts

$0.00

g 1,306,270.34

 

 

5 1,306,270.34

 

 

page 5 of 9
aL

Debtor name

Case 23-12383-MAM Doc1_ Filed 03/28/23 Page 24 of 44

Me Meee (sah at Lye

Aspen Sober Living, LLC

 

 

United States Bankruptcy Court for the: Southern District of Florida

Case number (If known): Chapter

11

 

Official Form 206G

 

LJ Check if this is an
amended filing

Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

LJ No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official

Form 206A/B).

2. List all contracts and unexpired leases

2.1

2.2

2.3

2.4

2.5

Official Form 206G

2018 Chevy Express Van
State what the contractor Purchaser
lease is for and the nature
of the debtor’s interest

State the term remaining 38 months

List the contract number of
any government contract

12 apartment units located at 1111

State what the contractor | oxahatchee Dr., WPB, FL 33409
lease is for and the nature

of the debtor’s interest Lessee
State the term remaining 11 Months, option thereafter

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State what the contract or
lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired lease

Ally Bank
PO Box 130424
Roseville, MN, 55113-0004

Fifty-Five, LLC

900 Osceoloa Drive

Suite 105

West Palm Beach, FL, 33409

Schedule G: Executory Contracts and Unexpired Leases page 1 of 1
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 25 of 44

TUM aM MUM (ala at Mer t= e

 

Debtor name Aspen Sober Living, LLC

United States Bankruptcy Court for the: Southern District of Florida

 

Case number (If known):

 

L) Check if this is an
. amended filing
Official Form 206H

Schedule H: Codebtors 42/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

 

 

1. Does the debtor have any codebtors?
LC) No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
\A Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. |nclude all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor

Check all schedules

Name Mailing address Name that apply:

2, Ari Lind Ari Lind Fifty-Five, LLC
3850 NW 2nd Avenue
Suite 22
Boca Raton, FL 33431

BOO
amo
TT

2.2

ooo
ono
7

2.3

Ooo

2.4

oO
a
1

2.5

Ooo
oO

2.6

OOO
omo
TT

Official Form 206H Schedule H: Codebtors page 1 of 1
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 26 of 44

MMM Clem CMe mle -y-e

 

Debtor name Aspen Sober Living, LLG

 

United States Bankruptcy Court for the: Southern District of Florida

Case number (If known):

 

L) Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

 

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

1. Gross revenue from business

 

 

 

 

LJ None
Identify the beginning and ending dates of the debtor's fiscal year, which Sources of revenue Gross revenue
may be a calendar year Check all that apply (before deductions and
exclusions)
From the beginning of the [dj Operating a business 4.09200
fiscal year to filing date: From 01/01/2023 to Filing date () Other $ ewe
MM/DD/YYYY
For prior year: From 01/01/2022 to 12/31/2022 (4 Operating a business 5 7,794.00
MM/DD/YYYY MM /DD/YYYY C0 other —————————_—_—_—_—_—_—_—_—_—_—
For the year before that: From 91/01/2021 to 12/31/2021 (WZ) Operating a business 23,284.00
MM/DD/YYYY MM/DD/YYYY 0 other Se
2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
W None
Description of sources of revenue Gross revenue from each
source
(before deductions and
exclusions)
From the beginning of the
fiscal year to filing date: From to Filing date $
MM/DD/YYYY
For prior year: From to
MM/DD/YYYY MM/DD/YYYY $
For the year before that: From to
MM/DD/YYYY MM/DD/YYYY 5

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 27 of 44

Aspen Sober Living, LLC

Name

Debtor Case number (if known)

 

Ey List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

14 None

Creditor’s name and address Dates Total amount or value Reasons for payment or transfer

Check all that apply
3.1.

Secured debt

 

Creditor’s name
Unsecured loan repayments

Suppliers or vendors
Services

Other

OOOcCULU

 

3.2.
Secured debt

 

Creditor's name Unsecured loan repayments
Suppliers or vendors

Services

OUOOCD

Other

 

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. /nsiders include officers, directors, and anyone in control of a corporate debtor and their
relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
agent of the debtor. 11 U.S.C. § 101(31).

 

 

 

{4 None
Insider’s name and address Dates Total amount or value Reasons for payment or transfer
4.1.
- $
Insider's name
Relationship to debtor
4.2.
Insider's name
$

 

Relationship to debtor

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 28 of 44

Aspen Sober Living, LLC

Debtor Case number (if known)

 

Name

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

 

 

 

Z None

Creditor’s name and address Description of the property Date Value of property
5.1.

_ $

Creditor’s name
5.2.

Creditor’s name $

6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debior’s direction from an account of the debtor because the debtor owed a debt.

@ None

Creditor’s name and address Description of the action creditor took Date action was Amount
taken

 

Creditor’s name

Last 4 digits of account number: XXXX—

es Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
was involved in any capacity—within 1 year before filing this case.

 

L) None
Case title Nature of case Court or agency’s name and address Status of case
902 Evergreen LLC v. Aspen Sober Palm Beach County
7.1. Living et al Breach of contract Pending
UL on appeal
Case number CL) Concluded
50-2021 -CC-000258-XXXX-MB
Case title Court or agency’s name and address gO Pending
7.2.
UL on appeal
CL) Concluded

Case number

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 3
Case 23-12383-MAM Doci1_ Filed 03/28/23 Page 29 of 44

Aspen Sober Living, LLC

Name

Debtor Case number (if known)

 

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

 

 

None
Custodian’s name and address Description of the property Value
$
Custodian's name
Case title Court name and address
Name

 

Case number

 

Date of order or assignment

 

Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

1) None

Recipient’s name and address Description of the gifts or contributions Dates given Value

 

OT $
9.1. Recipient's name

 

 

 

 

$
Recipient’s relationship to debtor
9.2 Dl 8
-“- Recipient's name
$
Recipient’s relationship to debtor
Cr Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.
None
Description of the property lost and how the loss Amount of payments received for the loss Date of loss Value of property
occurred If you have received payments to cover the loss, for lost
example, from insurance, government compensation, or
tort liability, list the total received.
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets — Real and Personal Property).
$

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4
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Aspen Sober Living, LLC

Name

Eo Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
seeking bankruptcy relief, or filing a bankruptcy case.

Debtor Case number (if known)

 

 

 

 

 

CL) None
Who was paid or who received the transfer? If not money, describe any property transferred Dates Total amount or
value
14 Breuer Law, PLLC $10,000 retainer for attorneys’ fees ($8,000)
“ and costs ($2000) 03/2023 Ss: 10,000.00
Address
6501 Congress Avenue
Suite 240
Boca Raton, FL 33487
Email or website address
stephen@breuer.law
Who made the payment, if not debtor?
Peak Realty
Who was paid or who received the transfer? If not money, describe any property transferred Dates Total amount or
value
11.2. $
Address

Email or website address

 

Who made the payment, if not debtor?

 

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
a self-settled trust or similar device.
Do not include transfers already listed on this statement.

 

\4 None
Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value
$
Trustee

 

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Aspen Sober Living, LLC

Name

Debtor Case number (if known)

 

13. Transfers not already listed on this statement

List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

 

 

None
Who received transfer? Description of property transferred or payments received Date transfer Total amount or
or debts paid in exchange was made value
13.1. —_ $
Address
Relationship to debtor
Who received transfer? a $

13.2.

 

Address

Relationship to debtor

i Previous Locations

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

LJ Does not apply

Address Dates of occupancy

141, 921 Evergreen Dr. From 09/2020 To 12/2020
West Palm Beach, FL 33403

14.2, From To

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Aspen Sober Living, LLC

Name

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:

Debtor Case number (if known)

 

— diagnosing or treating injury, deformity, or disease, or

— providing any surgical, psychiatric, drug treatment, or obstetric care?
1 No. Go to Part 9.

L) Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services the If debtor provides meals
debtor provides and housing, number of
patients in debtor's care

15.1.

 

Facility name

Location where patient records are maintained (if different from facility

address). If electronic, identify any service provider. How are records kept?
Check all that apply:
LJ Electronically
LJ Paper
as Nature of the business operation, including type of services the If debtor provides meals
Facility name and address debtor provides and housing, number of

patients in debtor's care

 

15.2.
Facility name
Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.
Check all that apply:
CJ Electronically
L) Paper

Se Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

L) No.

W Yes. State the nature of the information collected and retained, Resident personal information-maintained in password protected software

 

Does the debtor have a privacy policy about that information?

LI No
i Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

4 No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?

LI No. Go to Part 10.
LU Yes. Fill in below:

 

 

Name of plan Employer identification number of the plan
EIN:
Has the plan been terminated?
LI No
LI Yes

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Debtor Aspen Sober Living, LLC

Name

Case number (if known)

 

iciamtiie Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.

 

 

\d None
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, before closing or
or transferred transfer
18.1. XXXX=— L) Checking $
Name ) Savings
) Money market
L) Brokerage
Q) other.
18.2. XXXX— C) Checking $
Name UL) Savings

L) Money market
) Brokerage
CQ) other

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

 

{4 None
Depository institution name and address Names of anyone with access to it Description of the contents can nase ite
LI No
Name Yes

Address

20. Off-premises storage
List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

 

\@ None
Facility name and address Names of anyone with access to it Description of the contents Does debtor
still have it?
LJ No
cn LI Yes

Address

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Aspen Sober Living, LLC

Name

Debtor Case number (if known)

 

Gera Property the Debtor Holds or Controls That the Debtor Does Not Own

 

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
trust. Do not list leased or rented property.

WJ None

Owner’s name and address Location of the property Description of the property Value

 

Name

Cia Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

= Environmenial law means any statute or governmental regulation that concerns pollution, contamination, or hazardous maiterial,
regardless of the medium affected (air, land, water, or any other medium).

= Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

= Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

 

 

WW) No
L] Yes. Provide details below.
Case title Court or agency name and address Nature of the case Status of case
Pending
Case number Name LI) on appeal
LI concluded

 

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

ld No
L] Yes. Provide details below.

Site name and address Governmental unit name and address Environmental law, if known Date of notice

 

Name Name

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Debtor Aspen Sober Living, LLC

Case number (if known)

 

Name

24, Has the debtor notified any governmental unit of any release of hazardous material?

ial No

 

LJ Yes. Provide details below.
Site name and address Governmental unit name and address Environmental law, if known Date of notice
Name Name

Soe Details About the Debtor's Business or Connections to Any Business

 

25, Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

None

Business name and address

25.1.

Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

EIN:

 

Name

252, Business name and address

Dates business existed

From To

Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

EIN:

 

Name

Business name and address

25.3.

Dates business existed

From To

Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

EIN:

 

Name

Official Form 207

Dates business existed

From To

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Debtor Aspen Sober Living, LLC

Case number (if known)

 

Name

26. Books, records, and financial statements

26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

LJ None

Name and address

 

26a.1.  Faigy Zupnik
Name
c/o Aspen Sober Living, LLC
Name and address

26a.2.

 

Name

Dates of service
From 01/01/2021
To 09/22/2023

Dates of service

From

To

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial

statement within 2 years before filing this case.

\ None

Name and address

26b.1.

 

Name

Name and address

26b.2.

 

Name

Dates of service

From

To

Dates of service

From

To

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

LJ None

Name and address

26c.1. C Frankel & Associates

 

Name

1428 E 12th St., Brooklyn, NY 11230

Official Form 207

If any books of account and records are
unavailable, explain why

Accountant for Debtor

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 11
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Aspen Sober Living, LLC

Name

Debtor Case number (if known)

 

If any books of account and records are

Name and address : "
unavailable, explain why

26c.2.

 

Name

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

Ld None

Name and address

26d.1.

 

Name

Name and address

260.2.

 

Name

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

ld No

LJ Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
$.

 

 

Name and address of the person who has possession of inventory records

27.1.

 

Name

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 12
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Aspen Sober Living, LLC

 

 

 

 

Debtor Case number (if known),
Name
Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
$
Name and address of the person who has possession of inventory records
27.2.

 

Name

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.

Name Address Position and nature of any interest % of interest, if any
Moshe Adelman : Member 20
Yaakov Adelman 606 Dianne Place, Valley Stream, NY 11581 Member 20
Kasriel Nojowitz 279 Oakley Avenue, Long Branch, NJ 07740 Member 20
David Hillel 210 Lenox Avenue, Long Branch, NJ 07740 Member 20
Hillel Adelman ; Member 20

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

LJ No
Ld Yes. Identify below.
Name Address Position and nature of any Period during which position
interest or interest was held
Ari Lind Member
08/04/2020 To 09/01/2021
Avrohom Yanofsky Member

08/04/2020 To 05/16/2021
To

To

30. Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?

YI No

L] Yes. Identify below.

Amount of money or description Dates Reason for providing
Name and address of recipient and value of property the value

30.1.

 

Name

Relationship to debtor

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 13
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Debtor Aspen Sober Living, LLC

Case number (if known)
Name

 

Name and address of recipient

 

30.2

 

Name

Relationship to debtor

 

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

W No
L) Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

EIN:

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

WI No
L) Yes. Identify below.

Name of the pension fund Employer Identification number of the pension fund

EIN:
clam Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 09/28/2023
MM /DD /YYYY

x /s/ Ari Lind Printed name Ari Lind

Signature of individual signing on behalf of the debtor

 

 

Position or relationship to debtor Authorized Agent

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Official Form 207) attached?
LL No
WI Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14
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Aspen Sober Living, LLC
Debtor Name Case number (ifknown)

 

 

Continuation Sheet for Official Form 207

 

28) Additional people in control of the debtor at the time of the filing of this case

Ari Lind r 0

Official Form 207 Statement of Financial Affairs for Non-Individuals
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TIM am ae MU ee emo Male amet Lale MLL: B

 

Debtor Name Aspen Sober Living, LLC

United States Bankruptcy Court for the: SOuthern District of Florida

 

 

Case number (if known):

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 1215

 

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

| | Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

8)

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebiors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

O 8B OSBBSBSB SBA

Other document that requires a declaration

 

| declare under penalty of perjury that the foregoing is true and correct.

 

Executed on 03/28/2023 X /s/ Ari Lind
MM /DD/YYYY Signature of individual signing on behalf of debtor
Ari Lind

 

Printed name

Authorized Agent

Position or relationship to debtor

 

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
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United States Bankruptcy Court
Southern District of Florida

Aspen Sober Living, LLC

In re: Case No.

Chapter 11
Debtor(s)

Verification of Creditor Matrix

The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.

Date: 03/28/2023 /s/ Ari Lind
Signature of Individual signing on behalf of debtor

 

 

Authorized Agent

 

Position or relationship to debtor
Case 23-12383-MAM Doc 1

902 Evergreen, LLC
525 10th St.
West Palm Beach, FL 33403

902 Evergreen, LLC

c/o Geoffrey Ittleman Esq
955 S. Federal Hwy, Ste. 339
Fort Lauderdale, FL 33301

ADP
701 Northpoint Parkway
West Palm Beach, FL 33407

Ally Bank
PO Box 130424
Roseville, MN 55113-0004

Ally Financial
PO Box 380902
Minneapolis, MN 55438

Ari Lind

3850 NW 2nd Avenue
Suite 22

Boca Raton, FL 33431

Aspen Behavioral Health, LLC
c/o Justin Claud, Esq.

2000 PGA Blvd., Ste. 4440
North Palm Beach, FL 33408

Aspen Healthcare Group, LLC
Justin Claud, Esq., RA

2000 PGA Blvd., Ste. 4440
North Palm Beach, FL 33408

Comeast
1701 JFK Blvd
Philadelphia, PA 19103

Fifty-Five, LLC

900 Osceoloa Drive

Suite 105

West Palm Beach, FL 33409

Florida Healthcare Law Firm
151 NW ist Ave.

Attn. Randy Goldberg, Esq.
Delray Beach, FL 33444

Florida Power and Light
General Mail Facility
Miami, FL 33188

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Geoffrey Ittleman, Esq.
955 S. Federal Hwy

Ste. 339

Fort Lauderdale, FL 33316

Intuit Quickbooks
2632 Marine Way
Mountain View, CA 94043

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